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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 22-80270-CIV-SINGHAL

  LARRY KLAYMAN,

          Plaintiff,

  v.

  JULIA PORTER, et al.,

       Defendants.
  ___________________________________/
                                                   ORDER

          THIS CAUSE came before the Court on a sua sponte review of the record. On

  February 23, 2022, Plaintiff filed its Motion for Remand (DE [8]). Under Local Rule 7.1(c),

  “each party opposing a motion shall serve an opposing memorandum of law no later than

  (14) days after service of the motion. Failure to do so may be deemed sufficient cause

  for granting the motion by default.” S.D. FLA. L.R. 7.1(c). To date, Defendant has not filed

  an opposing memorandum of law, nor has Defendant sought an extension of time to do

  so. 1

          Accordingly, it is ORDERED AND ADJUDGED that Plaintiff’s Motion for Remand

  (DE [8]) is GRANTED. The Clerk of Court shall REMAND this case to the 15th Judicial

  Circuit in and for Palm Beach County, Florida.

          DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 8th day of

  March 2022.




  1The Court also notes that it lacks jurisdiction over the present action under 28 US.C. 1332 because Plaintiff
  affirmatively states the amount in controversy is below $75,000.
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  Copies furnished counsel via CM/ECF
